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IN THE UNITED sTATEs DisTRICT CoURT FH‘ED ii"r~-Y_D-C-
FoR THE WESTERN DISTRICT oF TENNESSEES JUN 22 AH 9= 15

EASTERN DIVISION

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UNITED sTATEs oF AMERICA, )
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Piaintifr, )
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vs. ) NO. 1~03*10090-'r

)
HEATHER MICHELLE LEE, )
)
Defendant. )

 

ORDER DENYING DEFENDANT’S MOTION FOR RECONSIDERATlON OF
SENTENCE DUE TO EX POST FA CTO CONSEQUENCES

 

Defendant Heather Michelle Lee pled guilty to possession with intent to distribute
less than five (5) grams ofmethamphetamine in violation onl U.S.C. §94l(a)(l). On May
3, 2005, she Was sentenced to a term of thirteen (l 3) months imprisonment With the United
States Bureau of Prisons. Defendant files this motion for reconsideration of her sentence
in light ofthe recent Supreme Court decision of United States v. Booker, 125 S.Ct. 738

(2005). Defendant contends that Booker and the ex post facto clause of the Fifth

 

Amendrnent bar imposition of a sentence greater than that of a base offense level of twelve
(12) and a sentence ofzero (0) to six (6) months in prison pursuant to the Federal Sentencing
Guidelines. Defendant argues that the court erred by sentencing her to a term of thirteen
(13) months because it exceeded the six-month maximum listed in the Guidelines.

Booker considered the constitutionality of the Federal Sentencing Guidelines. The

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first issue raised in Bo_oker was the effect of facts not admitted during a defendant’s guilty
plea or heard by a jury. Justice Stevens, writing for the majority, stated that “[a]ny fact
(other than a prior conviction) Which is necessary to support a sentence exceeding the
maximum authorized by the facts established by a plea of guilty or a jury verdict must be
admitted by the defendant or proved to a jury beyond a reasonable doubt.” BLl<er, 125

S.Ct. At 756. The second issue addressed in Booker considered whether the Guidelines

 

Were mandatory. Justioe Breyer, writing for the maj ority, stated that the Guideline system
would be “advisory while maintaining a strong connection between the sentence imposed

and the offender’s real conduct.” Booker, 125 S.Ct. at 769. Further, the Booker court held

 

that its ruling Would be applied retroactively on all cases pending on direct review or not yet
final. I_d.

Defendant’s offense occurred on September 2, 2003, and she Was sentenced on l\/lay
3, 2005. The 13le decision was released by the Supreme Court on January 12, 2005.

Consequently, Defendant falls into the limited class of cases of persons whose offenses

 

occurred prior to Booker, but whose sentencing occurred after M)o_ker. As such, she now
argues that the expostfacto clause prevents the court from increasing her sentence pursuant
to BLl<er’s holding that the Guidelines are advisory only.

Article l of the United States Constitution provides that neither Congress nor any
State shall pass any “ex post facto Law.” Art. l, § 9, cl. 3; Art. l, § lO, cl. l. The ex post

facto clause prohibits application of a law enacted after the date of the offense that “in flicts

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a greater punishment than the law annexed to the crime when committed,” or “alters the
legal rules of evidence, and receives less, or different, testimony than the law required at the
time ofthe offense.” Calder v. Bull, 3 U.S. 386, 390 (1798). “[T]o fall within the ex post
facto prohibition, two critical elements must be present: first, the law ‘must be retrospective,
that is, it must apply to events occurring before its enactment’; and second, ‘it must

disadvantage the offender affected by it.”’ l\/liller v. Florida 482 U.S. 423, 430 (quoting

 

Weaver v. Graham, 450 U.S. 24, 29 (1981)). A law is retrospective ifit “changes the legal
consequences of` acts completed before its effective date.” M, 450 U.S. at 3 1; M
Mil_l§r, 482 U.S. at 430 (holding that Florida’s revised sentencing guidelines were in
violation of the ex post facto clause where, at the time the defendant committed the crime,
the presumptive sentence Was three-in-a-half to four-in-a-half years in prison but at the time
of sentencing the guidelines required imposition of a seven-year sentence). “[N]o ex post
facto violation occurs if the change in the law is merely procedural and does ‘not increase
the punishment, nor change the ingredients of the offence or the ultimate facts necessary to
establish guilt.”’ __MM, 482 U.S. at 433 (quoting Hopt v. Utah, 110 U.S. 574, 590 (1884)).

In the present case, Defendant, when offering a guilty plea, did not admit the drug
charges described in paragraphs 3, 4, 9, 14, 17, and 38 of the pre-sentence report Prior to
when the court would have been able to include the drug amounts not admitted to based
only upon Defendant’s guilty plea. Thus, before _B_L)_k_er, Defendant Would have had a base

offense level of thirty (3 0), reduced to twenty-five (25) after taking into account her criminal

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history and acceptance of responsibility Under the F ederal Sentencing Guidelines, which
were mandatory pre-_B__o_o_l@, Defendant’s sentencing range would have been 57-71 months
in prison.

After BLker, however, the court could not sentence Defendant for the drug amounts
not admitted to. Accordingly, Defendant’s base offense level-when these offenses were
removed-was reduced to twelve (12). After factoring in her criminal history and acceptance
of responsibility, Defendant’s sentencing level was eight (8). With an eight (8) as the
offense level total, the guideline range under the Federal Sentencing Guidelines was zero
(0) to six (6) months in prison. However, the statutory maximum for Defendant’s offense
permits a term of imprisonment of up to twenty (20) years.

The court sentenced Defendant to a term of thirteen (1 3) months imprisonment This
sentence was an upward departure of the zero to six month range recommended as a result
of the Bo_oker reduction

Defendant’s argument for reconsideration of her sentence in light of Booker and the

 

ex post facto clause presents an interesting situation Before sentencing, Defendant argued
that Booker required the court to reduce her offense level from thirty (30) to twelve (12).

Thus, Defendant used Booker to her benefit by significantly reducing her offense level.

 

However, although Defendant’s offense level was reduced pursuant to Booker, she now
argues that the ex post facto clause requires the court to stay within the range imposed by the

Federal Sentencing Guidelines, i.e., that Booker does not apply and the Guidelines are

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mandatory, and consequently, the court cannot sentence her to a prison term higher than the
amount stated in the Guidelines. As a result, she contends that the court erred by sentencing
her in excess of six months in prison under BLker.

The flaw in Defendant’s argument is that she seeks the benefit of BLlcer-to reduce
her offense level-but does not want the court to follow Me_r’s holding that the Federal
Sentencing Guidelines are advisory, not mandatory Defendant cannot pick and choose

which parts of precedent she would like the court to follow. This court is bound by

 

Booker’s entire holding B_U clearly applies to Defendant as it specifically states that it
applies to “all cases on direct review,” 125 S.Ct. at 769, and Defendant’s case was on review
at the time wm was decided. ln addition, by arguing that BLker required a reduction
of her base offense level, Defendant has conceded that _];`>%Ll<er applies to her case.
Pursuant to l_3_oo_ker, the Federal Sentencing Guidelines are now advisory only. After
considering the Guidelines, the court sentenced Defendant to a prison term of thirteen (13)

months. The court did not sentence Defendant to a term of imprisonment that exceeded the

 

twenty (20) year statutory maximum, which would not be allowed after Booker. Nor did
Defendant receive a sentence that was longer than she would have received in a pre-Booker

situation. Before Booker, the court would have been mandated to impose a sentence in the

 

range of 57-71 months under the Guidelines. Thus, Defendant was not disadvantaged as a
result of application of Booker because the sentence imposed by the court was substantially

shorter. w Miller, 482 U.S. at 430, 432, 433. Although the court did exceed the post-

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_B_M recommended guideline range, the Supreme Court states that Congress could not
have intended a situation where a defendant gets only a reduction from the Guidelines but
no enhancements Bo_oke_r, 125 S.Ct at 763.

Accordingly, Defendant’s motion to reconsider her sentence due to Me_r and the
ex postfacto clause is DENIED.

lT IS SO ORDERED.

Qt/Mv»M-Qa-M-

JAl\/l D. TODD
UNl ED STATES DISTRICT JUDGE

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DATE U

 

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This notice confirms a copy of the document docketed as number 55 in
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